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      Date      Initials                     Description of Services                               Hours
   07/06/20     KBR        Examined Order to Show Cause to identify court imposed                    0.20
                           deadlines
   07/06/20     LAB        Strategy calls with D. Walton and J. Cavalier                             1.20
   07/06/20     LAB        Team/client call re: status                                               1.40
   07/07/20     DJW        Analyze issues re: settlement agreement.                                  0.40
   07/07/20     JRC        Correspondence with L. Benson and D. Walton re: strategy;                 3.30
                           correspondence with S. Carson re: terms of settlement
                           agreement; correspondence with clients re: finalization of
                           Brady settlement; revise Brady settlement agreement; email
                           to client re: same; review documents from G. Roman
                           supporting counterclaims against L. Barbounis.
   07/08/20     DJW        Communications with G. Webb re: settlement.                               0.20
   07/08/20     DJW        Communications with client re: Brady deposition.                          0.20
   07/08/20     DJW        Analyze issues re: affidavit requested by Judge Kearney.                  0.20
   07/08/20     LAB        Review and respond to emails re: settlement negotiations                  0.20
   07/08/20     LAB        Draft M. Fink affidavit in support of fees                                0.30
   07/08/20     LAB        Email M. Fink re: affidavit in support of fees                            0.20
   07/09/20     KBR        Examine Affidavit in Support of Fees and filed with court                 0.20
   07/13/20     DJW        Review/analyze phone records received from T-Mobile.                      0.40
   08/04/20     JRC        Correspondence and calls with D. Walton, L. Benson and                    1.70
                           G. Roman re: motion for contempt against Derek Smith
                           Law Group; review prior motions and documents re: same.
   08/05/20     JRC        Draft motion for contempt against Derek Smith Law                         4.60
                           Group.
   08/05/20     JRC        Research re: contempt cases in EDPA and 3d Cir. on failure                2.30
                           to follow judicial orders, pattern of contempt, and available
                           sanctions for use in Motion for Contempt against Derek
                           Smith Law Group.
   08/05/20     JRC        Proof, incorporate edits, finalize and arrange for filing                 1.80
                           motion for contempt against Derek Smith Law Group.
   08/05/20     KBR        Finalized and filed Motion for Contempt                                   0.40
   08/05/20     LAB        Review and revise draft motion for contempt                               0.30
   08/06/20     LAB        Review emails between counsel re: motion for contempt                     0.30
   08/07/20     JRC        Call with all counsel re: strategy and related issues; calls              2.20
                           and correspondence with D. Walton and L. Benson re:
                           motion for sanctions and strategy.
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      Date      Initials                    Description of Services                               Hours
   08/07/20     LAB        Review emails and opposition to motion for contempt                      0.30
   08/07/20     LAB        Review emails between counsel re: motion for contempt                    0.30
   08/10/20     LAB        Review and respond to emails re: contempt motion                         0.20
   08/12/20     LAB        Review and respond to emails re: motion for                              0.50
                           contempt/sanctions
   08/12/20     LAB        Call with D. Walton re: contempt hearing                                 0.30
   08/13/20     LAB        Prepare for hearing on order to show cause                               1.50
   08/13/20     LAB        Strategy call with D. Walton and J. Cavalier re: hearing on              0.60
                           contempt motion
   08/13/20     LAB        Appear for hearing on motion for contempt                                1.80
   08/13/20     LAB        Call with D. Walton and J. Cavalier re: strategy following               0.50
                           hearing on motion for contempt
   08/14/20     LAB        Strategy call with D. Walton                                             0.30
                                         Total Hours Billed:                                      303.90
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                               Time And Fee Summary

Timekeeper                                            Rate   Hours               Fees
Walton, D.J.                                     340.00       87.50 $       29,750.00
Cavalier, J.R.                                   340.00      144.10         48,994.00
Wilkinson Jr., T. G.                             835.00        0.50            417.50
Benson, L.                                       250.00       49.10         12,275.00
McLaughlin, A.                                   250.00        6.00          1,500.00
Christy, K J                                     110.00        1.60            176.00
Rhym, K.B.                                       110.00       15.10          1,661.00
                                  Totals:                    303.90 $       94,773.50
